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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,                                            S1 23 Cr. 118 (AT)

        v.

 YANPING WANG,
   a/k/a “Yvette,”

                          Defendant.




               REPLY IN SUPPORT OF THE GOVERNMENT’S MOTION
                          TO DISQUALIFY EMIL BOVE




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                                PRELIMINARY STATEMENT

       It has long been the law that a “defendant’s right to counsel of his choice is not an absolute

one, but must give way when required by the fair and proper administration of justice.” United

States v. Ostrer, 597 F.2d 337, 339–41 (2d Cir. 1979) (citations omitted) (disqualifying former

AUSA because successive representation “considerations are pertinent not only where the issues

involved in the lawyer’s former and present representation are the same, but also where, as here,

the privileged information obtained in the course of the former representation may be used . . . in

a closely related matter”); United States v. Hasarafally, 529 F.3d 125, 128 (2d Cir. 2008)

(recognizing that “a private party . . . can easily choose from a range of law firms”). Under the

Evans test, statutes, and applicable ethical rules, and to avoid tainting the trial, Bove should be

disqualified. Bove’s disqualification is necessary to safeguard the United States’s confidential

information, ensure fairness, and preserve the integrity of this criminal prosecution. See United

States v. Prevezon Holdings, Ltd., 839 F.3d 227, 239 (2d Cir. 2016) (citing Evans v. Artek Systems

Corp., 715 F.2d 788, 791 (2d Cir. 1983)).

                                          ARGUMENT

   A. The Evans Test Applies and Calls for Disqualification

       Bove appears to suggest that the Evans test, which has been used “in civil cases involving

private litigants,” is separate and apart from the prohibitions in Rule 1.11 governing former

government attorneys.    (Opp’n 14).     Bove is wrong.      The applicable New York Rules of

Professional Conduct are motivated by the same concerns as, and are consistent with, the Evans

test. In particular, “[b]y requiring a former government lawyer to comply with Rule 1.9(c), Rule

1.11(a)(1) protects information obtained while working for the government to the same extent as



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information learned while representing a private client.” Rule 1.11, Cmt. 4. 1 That is the exact

same concern that animates the Evans test, which “focuses on identifying situations in which there

exists the potential that confidential information obtained during representation of an adverse party

could be used in the present action.” Giambrone v. Meritplan Ins. Co., 117 F. Supp. 3d 259, 269

(E.D.N.Y. 2015) (emphasis in original). (See Gov’t Br. 13-14 (citing additional cases)). The

Evans test applies and is satisfied here, calling for Bove’s disqualification. 2 (See Gov’t Br. 20-

24).

       First, Bove’s arguments that there is not a substantial relationship between the TIN Matter

and this case are without merit. Notably, Bove does not dispute that the TIN Matter that Bove

supervised involved facts that are relevant to the criminal case against Kwok and Wang. Indeed,

Bove does not dispute that the facts underlying the prior matter, i.e., the TIN Matter, may be

offered in the Government’s case in chief or rebuttal in this matter. (Gov’t Br. 22-23 (asserting

that the Government “may offer evidence or call witnesses in its case-in-chief, or as part of a

rebuttal case, related to the TIN Matter.”) (citing United States v. Escobar-Orejuela, 910 F. Supp.

92, 100 (E.D.N.Y. 1995); Ostrer, 597 F.2d at 340; United States v. James, 708 F.2d 40, 44–46 (2d

Cir. 1983)). Indeed, the Government has already publicly relied on information derived from the


1
  This part of the Rule is in accord with Canon 4 of the former Code of Professional Responsibility.
See McBean v. City of New York, No. 02 Civ. 5426 (GEL), 2003 WL 21277115, at *2, *4-5
(S.D.N.Y. June 3, 2003) (applying Canon 4 and the Evans test to former government attorney).
Moreover, this prohibition would apply even if a former government attorney did not participate
personally and substantially in a given matter. See Restatement (Third) of the Law Governing
Lawyers § 133, Cmt. f(ii) (“Even if not personally and substantially participating in a matter, a
government lawyer or employer might overhear or otherwise learn of confidential information of
the employing agency. Its subsequent use against the interests of the agency is prohibited.”).
2
  Even if the Evans factors were not satisfied—and they are—disqualification is appropriate if “the
record supports a finding of disqualifying taint,” including where, as is the case here, “an attorney
places himself in a position where he could use a client’s privileged information against that
client.” Prevezon Holdings Ltd., 839 F.3d at 241 (quotation and citation omitted).
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TIN Matter in arguing for Kwok’s detention. All of this is particularly significant, because as the

Second Circuit recently explained, a “‘substantial relationship’ exists where facts pertinent to the

problems underlying the prior representation are relevant to the subsequent representation.”

Prevezon Holdings, Ltd., 839 F.3d at 239. 3

        Rather than contend with the fact that the two matters are related, Bove instead ignores

context and leans on the Government’s use of a single word, “unrelated,” in describing the TIN

Matter in the Government’s detention memorandum. (See Opp’n 16; see also id. at 1, 4, 8, 14,

27). Bove puts more weight on that single adjective, used in an entirely different context, than it

can bear. The Government used the word “unrelated” in an effort to convey, succinctly, that the

CFU investigation “arose independently from and was conducted independently of the TIN

Matter.” (Gov’t Br. 23). Needless to say, the Government’s use of the adjective “unrelated” in

that wholly different context was not an application of the “substantially related” standard under

Evans, which focuses on the possibility that a former government attorney could use confidential

information in a later representation. That the CFU investigation was independent of the TIN

matter—that its initiation and progress was “unrelated” to that of the TIN Matter—does not make

the two matters substantially unrelated for the purpose of evaluating disqualification. To the

contrary, as set forth below, the substance of the TIN Matter may well play a role in the trial of the

instant action.




3
  Bove relies on the standard enunciated decades ago in Gov’t of India v. Cook Indus., Inc., 569
F.2d 737, 739–40 (2d Cir. 1978), ignoring the Second Circuit’s explication of the standards, in
2016, in Prevezon Holdings, Ltd., 839 F.3d 227. Despite citing Gov’t of India twice, see 839 F.3d
at 240, 241, the Prevezon Court did not include in its recitation of applicable standards that issues
must be identical or essentially the same to be substantially related.
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       The Government expects that Kwok, and potentially Wang herself, will seek to bring into

the trial events that occurred during and in relation to the TIN Matter that Bove supervised,

                                                                            consider some of the

items recovered during the execution of the March 15, 2023 search warrants that were obtained in

this case. At Kwok’s mansion in Mahwah, New Jersey, the FBI located a large safe in the

basement. In that safe, Kwok maintained documents and materials including, for example: (a) a

document labeled with the words “Top Secret” in a foreign language, and (b) a report in Mandarin

(with English translations) documenting an October 15, 2018 meeting between officials in the

United Arab Emirates and officials in China and further indicating that Kwok met with UAE

officials at his Manhattan penthouse on October 4, 2018 to prepare the UAE officials for their

meeting with Chinese officials. These documents and materials were concealed in a brown box

labeled “Poland Spring Water,” which box was stored in the large basement safe. That box also

held documents that appear related to Kwok’s business arrangements. As another example,




                                                                          Significantly, Bove, as

supervisor of the TIN Matter, has himself already opined on




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       In an attempt to avoid this conflict, Bove incorrectly suggests that the Government is

attempting “to expand the scope of the TIN Matter to include Mr. Kwok’s earlier interactions with

the FBI[.]” (Opp’n 16).



                                                                Responding to the point that Kwok

was the focus of the TIN Matter and that this is a criminal prosecution of the very same person,

Bove cites a case related to an event (Hurricane Sandy) and another related in general to

telecommunications mergers to argue that “general overlap” is insufficient. (Opp’n 17 (citing

Giambrone, 117 F. Supp. 3d at 274, and New York v. Deutsche Telekom, AG, 19 Civ. 05434 (VM)

(RWL), Dkt. 289, at 28 (S.D.N.Y. Nov. 26, 2019)). Those comparisons ignore the character of a

criminal investigation and a criminal prosecution, in which an individual’s conduct, knowledge,

and intent come under intense scrutiny. There is no question that, as a Government attorney, Bove

supervised a criminal investigation focused on a specific person (Kwok), who is the lead defendant

in this criminal prosecution and Wang’s (i.e., Bove’s client’s) longtime boss and charged co-

conspirator; nor is there a dispute that Bove was supervising the TIN Matter during part of the

same time period that the subject offenses in this case took place. The TIN Matter was not a

general inquiry into a broad subject matter; it was focused on a person who is central to this case.

Contrary to Bove’s assertion, disqualifying Bove in light of the foregoing would not prevent “‘a

former government attorney from participating in any litigation that had any factual overlap with

a matter on which the attorney had worked while in government service.’” (Opp’n 18 (quoting In

                                                 5
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of others besides Wang. (Gov’t Br. 23 (footnote omitted)). The possibility of a joint defense

agreement is far from speculative. On August 9, 2023, the Government learned from the

Metropolitan Detention Center, where Kwok and Wang are incarcerated, that Bove had emailed

MDC Legal on July 20, 2023 (i.e., two days before Bove filed a notice of appearance on behalf of

Wang), copying Kwok’s counsel, Sidhardha Kamaraju, Esq., to inquire into the “process for

setting up a joint defense meeting at MDC with our clients together.” (emphasis added). (Ex. E).

The Government further learned that Kwok’s counsel later requested to schedule a co-defendant’s

meeting with counsel in the MDC; in the request, Bove was listed as the sole attorney for Wang

who would be attending the meeting. Id.

       Second, Bove incorrectly argues that a presumption of access to relevant confidential

information should not control here. In doing so, Bove attempts to distinguish district court cases,

but ignores the Second Circuit’s opinion in Prevezon Holdings, Ltd., 389 F.3d at 240. (See Opp’n

19-20). Bove then states repeatedly that he has no real recollection of the TIN Matter at present. 5

Or that he is not sure what he saw or did. (Opp’n 4 (“I do not think that I saw the warrant

applications”); id. (“it seems plausible to me that I discussed the TIN Matter with one or both of

the line AUSAs”). Whether Bove remembers his substantial participation and oversight over the

TIN Matter or claims not to is irrelevant. The Government provided authority in this Circuit that


5
  E.g., Bove Decl. ¶ 6 (“I do not recall accessing any case file”); ¶ 7 (“I do not recall ever seeing
the warrant materials.”); ¶ 9 (“I do not recall discussing the specific contents of any particular
seized item, and I have no recollection of any other investigative steps being taken in the TIN
Matter.”); ¶ 12 (“I do not recall the substance of those conversations”); ¶ 13 (“I do not recall such
a conflict [concerning the TIN Co-Chief] being communicated to me during my service”).
Notably, however, Bove has not disclaimed any recollection of the TIN Matter. Indeed, Bove
concedes that he “was generally aware that the FBI was reviewing the contents of materials it had
seized in connection with the TIN Matter” (i.e., the Kwok TIN search warrant materials).
However, he attempts to minimize his personal involvement by declaring that he does “not recall
discussing the specific contents of any particular seized item.” (Bove Decl. ¶ 9) (emphasis added).
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clearly held so, and common sense tells us that faded memories often reappear and can be

refreshed. See United States v. Uzzi, 549 F. Supp. 979, 981–83 (S.D.N.Y. 1982) (“[m]emory is

not so fixed and absolute that we can say with confidence: [the former AUSA] has forgotten

everything”); United States v. Huawei Techs. Co., No. 18 Cr. 457 (AMD), 2020 WL 903007, at

*5 (E.D.N.Y. Feb. 25, 2020) (“The fact that [the former Deputy Attorney General of the United

States] currently has ‘no recollection of the matters’ (ECF No. 51-1) does not change the

analysis.”). Bove seeks to distinguish those cases on their facts, but provides no contrary authority,

and fails to contend with the underlying principle for which the Government cited them—that a

failure of recollection does not absolve a conflict. 6 Disqualification jurisprudence recognizes the

potential for conflict in the future even if there is no actual conflict at the time of a disqualification

motion. Wheat, 486 U.S. at 162-3 (“The likelihood and dimensions of nascent conflicts of interest

are notoriously hard to predict, even for those thoroughly familiar with criminal trials.”). A

claimed lack of memory now does not nullify the serious potential for actual conflict later, because


6
  The two cases cited by Bove do not hold otherwise. First, the Magistrate Judge’s decision in the
Southern District of Alabama case, United States v. Haggard, upon which Bove relies does not
stand for the proposition that if a former Government attorney forgets about their involvement in
one matter, they may participate in a subsequent matter from which they would otherwise be
barred. (Opp’n 19 (citing 08-00327-CG, 2009 WL 5207263 (S.D. Ala. Dec. 29, 2009)). Rather,
Haggard turned on the fact that the Government declined to offer “any evidence.” Id. at *1. That
is not the case here. Second, in the hearing transcript cited by Bove, Magistrate Judge Lehrburger,
in an oral order, merely noted that the proposed counsel did not recall any confidential information
as one “factor” (of five) when electing not to disqualify counsel. Deutsche Telekom, AG, 19 Civ.
05434 (VM) (RWL), Dkt. 289, at 28 (S.D.N.Y. Nov. 26, 2019). The lack of recollection appears
to have played a minor role in the court’s decision. Magistrate Judge Lehrburger was instead
focused on the moving parties’ “untimely filing,” prejudice to the public and the defendants if
counsel were disqualified as compared with the potential prejudice to the moving party (which
was “slim to none”), that the matters were different, that any confidential information was “either
already or largely already in the public domain or subject of discovery,” and that the prior matter
occurred approximately eight years ago. Id. at 27-29. None of those factors is present here.
Indeed, Magistrate Judge Lehrburger caveated the importance of a lack of recollection and clearly
asserted that, as to a lack of recollection, “I’m not saying that’s necessarily the standard.” Id.
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memories can be refreshed. That is of particular concern here, given that Bove has not yet

“personally accessed the 2019 warrant materials,” (Opp’n 16), some of which he recognizes he

would receive in discovery in this case, id., and which may well refresh his memories of a matter

he supervised less than two years ago.

   B. Bove Should be Disqualified Under New York Rule of Professional Conduct
      1.11(a)(2) and 18 U.S.C. § 207

       In addition to Rule 1.11(a)(1) and the Evans test, Bove should be disqualified under Rule

11(a)(2) and 18 U.S.C. § 207(a). While Bove is correct that these conflict rules governing former

government attorneys are “narrower” in certain respects than the considerations discussed above,

such limitations are ultimately immaterial here. That is because Bove participated personally and

substantially in a particular matter that is the same “matter” as this prosecution for purposes of the

applicable conflict rules. (See Gov’t Br. 25-26).

         1. The TIN Matter Should Be Deemed the Same Matter For Purposes of the
            Conflict Rules

       Rule 1.11(a)(2) and similar prohibitions are based on “concerns similar to those protecting

former private clients,” but “apply somewhat differently to government clients.” Restatement

(Third) of the Law Governing Lawyers § 133, Cmt. b. In particular, such rules balance the

potential for misuse of confidential information with the risk of disincentivizing government

service by too broadly conflicting former government attorneys when in private practice. See Rule

1.11, Cmt. 4.

       In striking that balance, Rule 1.11—like Section 207(a) and other conflict-of-interest rules

generally—first draws a distinction between, on the one hand, “matters involving a specific party

or specific parties” (i.e., particular matters) and, on the other, “all substantive issues on which the

lawyer worked,” and the Rule requires disqualification only with respect to the former. Rule 1.11,

                                                  9
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Cmt. 4; accord 18 U.S.C. § 207(a)(1) (permanent prohibition if, among other things, the prior

matter “involved a specific party or specific parties at the time of” the former government

employee’s participation); id. § 207(a)(2) (two-year cooling-off period if the particular matter was

under the former government employee’s “official responsibility”).

       While generally applicable legislation is not a “particular matter,” a criminal investigation

of a specific individual—here, Kwok—unquestionably is. 7            See 18 U.S.C. § 207(i)(3) (a

“particular matter” includes “any investigation, application, . . . or judicial or other proceeding”).

The only question, then, is whether the TIN Matter qualifies as the same “matter” as this

prosecution for purposes of Rule 1.11(a)(2) and 18 U.S.C. § 207(a). The answer to that question

is that it does so qualify, for the same reasons that the TIN Matter and this case are “substantially

related,” as described in detail above.

       Bove’s arguments otherwise are unpersuasive. Bove cites to Rule 1.11 commentary as

support for his claim that the phrase “substantially related” “has been excised from Rule 1.11,” yet

the commentary Bove relies on does not even mention the phrase “substantially related.” (Opp’n

9 (citing Rule 1.11, Cmt. 4)). Additionally, Bove’s reliance on the rule of lenity (Opp’n 10) is

inapposite; this motion is not a criminal prosecution and Bove is not a criminal defendant. See

Hughey v. United States, 495 U.S. 411, 422 (1990) (in criminal cases, rule of lenity “demand[s]

resolution of ambiguities in criminal statutes in favor of the defendant”). Instead, statutes like 18

U.S.C. § 207 should inform the Court’s disqualification analysis.




7
  The examples discussed by Bove illustrate the point. (See Opp’n 10 & n.4 (describing federal
ethics regulations that contrast a government employee’s work on an immigration reform bill (not
a particular matter) with a government employee’s work on granting “citizen to a specific
individual” (a particular matter)).
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         2. Bove Participated Personally and Substantially in the TIN Matter

       In addition to limiting disqualification to “particular matters,” Rule 1.11 also requires

disqualification only if “the lawyer participated personally and substantially.” Rule 1.11, Cmt. 4;

accord 8 U.S.C. § 207(a)(1); In re Payment Card Interchange Fee and Merchant Discount

Antitrust Litig., No. 05 Civ. 1720, 2006 WL 6846702, at *6 (E.D.N.Y. Aug. 7, 2006) (contrasting

disqualification of former private attorney, which would be required when “the attorney played

any role” in the prior matter, with the requirement that former government attorneys have

participated personally and substantially) (emphasis in original). 8

       It is an odd choice for Bove to claim, as he does in his brief, that he did not participate

“personally or substantially” in the TIN Matter, (Opp’n 10-14), while at the same time admitting

(as he must) that he was “one of two Co-Chiefs” of TIN from September 19, 2019 until he left the

Office on December 20, 2021, and thus was responsible for supervising the TIN Matter for over

two years. (Bove Decl. ¶¶ 2-3). As a TIN supervisor, when the line assistants working on any

matter in that unit—including the TIN Matter—had issues or questions, they were brought to

Bove’s attention. Yet, in his opposition and declaration in this case, Bove characterizes his

involvement in the TIN Matter as “sporadic and limited,” claims that his supervision was at times

“nominal[ ],” and offers only that it is “plausible” he discussed the TIN Matter with the line

assistants. (Bove Dec. ¶ 11; Opp’n 2).

       In October 2020, while employed with the Office, Bove prepared a sworn declaration to a

court regarding another TIN matter. In that 2020 declaration—unlike in the declaration that Bove



8
  To further minimize potential disincentives to government service, Rule 1.11 also discusses
screening procedures that would prevent a law firm’s disqualification if one its members were a
former government attorney subject to disqualification.
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submitted in this case—Bove confirmed that his oversight responsibilities extended to all of the

matters in TIN:

              Since September 19, 2019, [my Co-Chief] and I have been Co-Chiefs
              of the Office’s Terrorism and International Narcotics Unit ([“TIN”]).
              . . . As one of the two Co-Chiefs of [TIN], I share responsibility for
              overseeing investigations and prosecutions by prosecutors in [TIN].
              . . . My oversight responsibilities include providing guidance to
              prosecutors regarding discovery and disclosure issues, helping to
              train prosecutors. . . .

United States v. Nejad, No. 18 Cr. 224 (AJN), ECF No. 400-1, (S.D.N.Y. Feb. 22, 2021) (sworn

declaration of Emil Bove) (Ex. F (excerpted)). Bove’s 2020 declaration is consistent with the

Office’s policy that unit chiefs’ oversight responsibilities require that they personally and

substantially participate in all the matters under their supervision. (See Gov’t Br. n. 15).

       Bove concedes that the TIN Matter was “pending” under his “official responsibility,”

(Opp’n 9 (citing 18 U.S.C. § 207(a)(2)), but the available record 9 demonstrates more: Bove’s

personal and substantial participation in the TIN Matter.

       Government Exhibit A is an email from Bove requesting the internal reference number for

the TIN Matter so that Bove could author a case update for the Office’s executive leadership.

Preparing case updates for the Office’s executive leadership is the responsibility of the TIN Co-

Chiefs, part of their oversight responsibilities, and a function that necessarily requires personal and


9
  Affidavits are not required for a court to disqualify an attorney, and Bove offers no law that says
otherwise. (Opp’n 13 (citing cases that included affidavits but not declaring they are required);
see also Decora Inc. v. DW Wallcovering, Inc., 899 F. Supp. 132, 138 (S.D.N.Y. 1995) (“a party
seeking disqualification of an attorney on the basis of the substantial relationship test is not
required to present evidence that the attorney possesses actual confidences as a result of the prior
representation” and finding that to the extent materials are provided to the court they may be
submitted ex parte to prevent disclosure of confidential information.). Indeed, Bove is not even
seriously disputing the majority Government’s factual assertions; he simply interprets the record
differently. However, if the Court requests, the Government will provide affidavits relevant to
issues raised herein.
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substantial participation in a matter. Indeed, in order to author an update on the TIN Matter, and

to inform the Office’s executive leadership of the status of that matter (as those updates are

designed to do), Bove necessarily must have had an understanding of the substance and progress

of the investigation. Bove’s contention that requesting the internal reference number is an

“administrative task” divorced from any substance is not a credible reading of Exhibit A. (Opp’n

12). To author a monthly case update, unit chiefs prepare summaries about pending cases

including events of significant and expected future events. Those summaries are titled with the

name of the matter and the internal tracking number, and are relied on by the Office’s executive

leadership, including the Chief of the Criminal Division. Notably, Exhibit A is dated October 31,

2019, which is the end of the month (i.e., when monthly updates were typically due to the Office’s

executive leadership). Given that the Kwok search warrants were executed in early October 2019,

the October 2019 monthly update would almost certainly describe the execution of those warrants

and an initial assessment of the search warrant results. (Bove Decl. ¶ 7). Tellingly, Bove does

not dispute that he was responsible for authoring case updates for the TIN Matter, and does not

provide any reason why he would “perform the administrative task of requesting a case-tracking

number” aside from drafting a monthly update. (Opp’n 12). 10

       Government Exhibit B is an email from Bove to the then-Chief of the Criminal Division,

which Bove contends is merely a “respon[se]” to a press inquiry forwarded to him and his Co-

Chief. (Opp’n at 13). Far from it. Exhibit B demonstrates that Bove had developed an opinion,



10
  Bove’s emails have a retention period of only three years, which for the moment means the
Government cannot locate the update Bove appears to have drafted for executive management.
Exhibit A was collected from the archived electronic files of one of the line assistants assigned to
the TIN Matter. Most unit supervisor and line assistant communication in the Office is oral,
particularly in sensitive matters.
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and expressed that opinion, to the Chief of Criminal Division regarding

                                                 Exhibit B itself demonstrates that Bove was more

than “generally aware,” Bove Decl. ¶ 9, of the TIN Matter, it shows he substantially participated

in the matter sufficient to form an opinion on an aspect of it. In addition to the opinion Bove

developed, Exhibit B demonstrates that, as of July 2020, Bove knew: (i) what “[t]he [TIN Matter]

team [wa]s working” on; (ii) that the investigation was ongoing and the line assistants were

“following up on leads” from the search warrant results; and (iii) there was a potential for factual

overlap between the TIN Matter and the CFU investigation.

           Exhibit B further demonstrates that the AUSAs assigned to the TIN Matter must have been

briefing Bove about the TIN Matter and its potential for factual overlap with the CFU matter. Just

15 minutes after the Criminal Division Chief’s question, Bove responded that “            [the TIN

Matter AUSA] is also aware of a CFU investigation . . . that involves Guo and relates to

cryptocurrency investments.”       This demonstrates Bove’s understanding that the matter he

supervised—the TIN Matter—might factually overlap with the CFU matter, and because Bove

stated “       [the TIN Matter AUSA] [wa]s also aware of a CFU investigation,” it follows that

updated Bove about what she was “aware of” that was relevant to the TIN Matter. In light of

Exhibit B, it is not merely “plausible” that Bove “discussed the TIN Matter with one or both of the

line AUSAs” (Bove Decl. ¶ 11). It is certain.

           Exhibit B therefore demonstrates that Bove’s involvement in the TIN Matter was not just

“sporadic and limited.” Indeed, if Bove was merely “respond[ing]” to a press inquiry, as he asserts,

then when asked whether Bove and his Co-Chief “have any investigation” (i.e., are supervising

any cases) “related to the source of funds that                       received through his work

with . . . Guo,” (Ex. B), he might have answered “no.” But rather than simply “respond” to the

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Bove was the direct supervisor of two (and for several months) just one line assistant, was regularly

updated on the matter, provided guidance concerning the matter, updated executive leadership

concerning the matter, and became the only direct supervisor of the matter after his Co-Chief was

conflicted.

       Bove points out semantic differences between arguments advanced here and by the

Government in Huawei. (Opp’n 18). Specifically, Bove disputes that he knew of, or even had

access to, classified information.      (Opp’n 11).   Classified discussions are, by their nature,

classified, and often oral. But more to the point, Bove’s contention that he did not have access to

classified information and had but limited and sporadic involvement as the direct supervisor of the

TIN Matter begs questions about what Bove did in his supervision of the TIN Matter. Bove does

not dispute that he was the supervisor of the TIN Matter, and that he was aware of the TIN Matter;

however, Bove does not include in his declaration his general duties and responsibilities as TIN’s

Co-Chief. Bove has chosen to highlight only what he does not recall rather than engage with what

should be an undisputed point: in the Office, unit supervisors play an important and substantial

role in all cases under their charge.

   C. Bove Should Be Disqualified To Avoid Trial Taint

       Whether counsel should be disqualified “is a matter committed to the sound discretion of

the district court.” Purgess v. Sharrock, 33 F.3d 134, 144 (2d Cir. 1994). Gonzalez-Lopez, upon

which Bove relies, makes clear that nothing in that opinion should “cast[ ] any doubt or place[ ]

any qualification upon [the Supreme Court’s] previous holdings that limit the right to counsel of

choice.” See id., 548 U.S. at 151 (declaring that trial courts have “wide latitude in balancing the

right to counsel of choice against the needs of fairness, . . . [including an] independent interest in

ensuring that criminal trials are conducted within the ethical standards of the profession and that

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legal proceedings appear fair to all who observe them.”). 12 A district court is well within the

bounds of its discretion “where it seems more likely than not that a number of conflicts will

materialize,” as is the case here. United States v. Jones, 381 F.3d 114, 121 (2d Cir. 2004). Thus,

disqualifying Bove in this case would not require “automatic reversal.” (Opp’n 21).

       The Second Circuit has unambiguously held that district courts have “‘substantial latitude’

to require disqualification even where defendants have attempted to waive any potential conflict,

and [the Court of Appeals] review[s] such a disqualification only for abuse of discretion.” United

States v. Zichettello, 208 F.3d 72, 104 (2d Cir. 2000) (emphasis added). For the many reasons

stated above, Bove’s disqualification is neither error nor an abuse of this Court’s discretion.

Disqualification is compelled by the actual, and also the mere potential, for a conflict in this case.

       Bove would have been correct to say that, on appeal, a defendant need not show prejudice

if a court abuses its discretion when disqualifying counsel. See United States v. Gonzalez-Lopez,

548 U.S. 140, 147 (2006). But the same is true if a district court permits a defendant to proceed

with counsel operating with an actual conflict of interest. “Prejudice is presumed under such

circumstances.” United States v. Schwarz, 283 F.3d 76, 91 (2d Cir. 2002). And there are

circumstances where counsel’s conflicts cannot be overcome even by a knowing and intelligent

waiver. United States v. Fulton, 5 F.3d 605, 612 (2d Cir. 1993). (“When a lawyer’s conflict, actual

or potential, may result in inadequate representation of a defendant or jeopardize the federal court’s

institutional interest in the rendition of a just verdict, a trial judge has discretion to disqualify an

attorney or decline a proffer of waiver.” (emphasis added).) “[E]ven where a defendant wants to



12
  Further, in Gonzalez-Lopez, the Government did not contest that the trial court erred when
disqualifying criminal counsel for a series of capricious reasons, which are a far cry from the
ethical rules and statutes implicated in this matter.
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waive a potential conflict, a district court still has ‘substantial latitude in refusing waivers of

conflicts of interest.’” United States v. Dipietro, No. S1 02 CR.1237SWK, 2004 WL 613073, at

*5 (S.D.N.Y. Mar. 29, 2004) (quoting Wheat, 486 U.S. at 162), aff'd sub nom. United States v.

Genua, 274 F. App’x 53 (2d Cir. 2008).

       Despite Bove’s arguments, if this Court determines, in its sound discretion, that

disqualification is appropriate—and it is—then it should disqualify Bove. 13 Whether Wang can

waive Bove’s conflicts is a question that need only be reached if the Court declares that Bove may

represent Wang despite the statutory prohibitions and Evans factors discussed above. Moreover,

Bove’s assertion that Wang is willing to waive Bove’s conflicts assumes too much. A “waiver”

by Wang cannot override the Government’s lack of consent to its information being used by Bove

to advance Wang’s interest. Nor does Wang’s waiver ameliorate the potential harm to the

Government, because even if Bove does not explicitly use confidential information in Wang’s

defense, his access to that information may implicitly—and impermissibly—inform Wang’s

defense strategy. 14 Prevezon Holdings Ltd., 839 F.3d at 238 (“There is a risk that [conflicted

counsel], while not explicitly using confidences, may use such confidences to guide its defense of

[defendant] in other ways.”). Such conduct taints the integrity of this matter. Id. (“One recognized

form of taint arises when an attorney places himself in a position where he could use a client’s



13
   Bove overstates the import of United States v. Liszewski, No. 06 CR 130 NGG, 2006 WL
2376382, at *11 (E.D.N.Y. Aug. 16, 2006). While the movant in Liszewski was the United States,
the United States was not the former client to whom the conflicted attorney owed duties of loyalty
and confidentiality. The former and current clients of the conflicted attorney did not join the
United States’s motion. As a result, the conflicts were waivable by the criminal defendant. Id. at
*11, *14. That is far afield from the circumstances here, where the Government is Bove’s former
client on a substantially related matter, does not waive his conflict, and seeks his disqualification.
14
  This is to say nothing of the potential harm that Bove could cause Kwok, if Kwok were to testify
or if Wang were to adopt a defense strategy of blaming Kwok for the charged conduct.
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privileged information against that client.” (quotation and citation omitted)); United States v. Stein,

410 F. Supp. 2d 316, 324 (S.D.N.Y. 2006) (use of information collected while in Government

service is in the class of cases where an “attorney’s conflict jeopardizes the integrity of judicial

proceedings.”).

                                          CONCLUSION

       Upon learning that Bove sought to represent Wang, the Government promptly alerted this

Court to the potential conflict, and swiftly filed its papers after conferring with Bove. This motion

is not a tactical maneuver, as Bove implies. (Opp’n 5). Rather, this motion was made to safeguard

the United States’s confidential information, preserve fairness before this Court, protect the

integrity of this matter, and ensure that the public can trust that Government employees join

Government to serve the public good, rather than to use information gained during Government

employment to advance their private interests. Bove was a unit supervisor in the Office. That

position comes with considerable responsibility and opportunity. But it also carries some costs—

namely, that Bove is now precluded from representations that put at issue the confidential

information he learned, and to which he had access, in the cases he oversaw. In seeking to

represent Wang, Bove threatens those values, and asks this Court to sanction a representation that

statutes, rules of professional responsibility, and case law do not condone.




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      The Government’s motion should be granted, and the Court should disqualify Bove from

representing Wang.


                                               Respectfully submitted,

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